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 13
 14                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 15                              WESTERN DIVISION
 16

 17   JENNY LISETTE FLORES, et al.,        No. CV 85-4544-DMG-AGRx
 18
            Plaintiffs,                    REPLY TO OPPOSITION TO MOTION TO
 19                                        ENFORCE SETTLEMENT RE “TITLE 42”
      v.                                   CLASS MEMBERS
 20
      WILLIAM BARR, Attorney General of
 21                                        Hearing: Sept. 4, 2020
      the United States, et al.,
                                           Time: 11:00 a.m.
 22
                                           Hon. Dolly M. Gee
 23         Defendants.
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  1      I.       INTRODUCTION
  2           Opposing the instant motion, Defendants wholly fail to counter Plaintiffs’
  3   showing that —
  4           •     Defendants regularly detain children in hotels and hold rooms for
  5                 weeks despite having thousands of vacant beds in licensed facilities;
  6           •     Hotels and hold rooms in which the Department of Homeland Security
  7                 (“DHS”) places children during Title 42 detention are not licensed, not
  8                 inspected by independent child welfare agencies, not open to
  9                 children’s individual legal counsel, not open to class counsel, and
 10                 apparently closed even to the Independent Monitor;
 11           •     DHS exercises unbridled discretion to classify children for Title 42
 12                 detention, and to re-classify them for Title 8 detention, without regard
 13                 to any discernable public health purpose; and
 14           •     DHS—and not the Department of Health and Human Services
 15                 (“HHS”) or the Centers for Disease Control and Prevention
 16                 (“CDC”)—also exercises plenary decision-making authority over the
 17                 placement of children designated for Title 42 detention.
 18   Further, Defendants’ opposition is entirely unpersuasive because, as used in the
 19   settlement approved by this Court on January 28, 1997 (“Settlement”), the federal
 20   agency with “legal custody” of a child is the agency that has decision-making
 21   authority over their placement regardless of the statute alleged to authorize their
 22   detention. Here, that agency is DHS.
 23           In candor, the Order Suspending Introduction of Certain Persons from
 24   Countries where a Communicable Disease Exists (“Closure Order”) itself appears
 25   to be more of an end-run around protections Congress has conferred on
 26   immigrants and asylum-seekers in general, and non-citizen children in particular,
 27   than a rational measure to protect public health. 85 Fed. Reg. 17,060 (March 20,
 28
                                                 1
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  1   2020). Yet however inhumane, unnecessary and unlawful it may be, the instant
  2   motion does not call upon the Court to decide whether the Closure Order violates
  3   Title 8.
  4            Rather, it here suffices that the Court should respect Congress’s
  5   unmistakable solicitude for the safety and well-being of immigrant and asylum-
  6   seeking children for howsoever long they are in federal custody. There simply is
  7   no conflict, much less an irreconcilable one, between Title 42 and the Closure
  8   Order, on the one hand, and Defendants’ affording vulnerable children prompt
  9   licensed placement, on the other.
 10            The Court should respect Congress’s wishes. It should grant the instant
 11   motion and require Defendants to transfer children they designate for Title 42
 12   detention to licensed placements without unnecessary delay.
 13
         II.      CHILDREN DESIGNATED FOR TITLE 42 DETENTION ARE ENTITLED TO THE
 14               SETTLEMENT’S PROTECTIONS.
 15
                  A.    DHS has plenary decision-making authority over children
 16                     ostensibly detained under Title 42 and, therefore, they are in
 17                     DHS’s “legal custody.”
 18            The Settlement protects “all minors who are detained in the legal custody of

 19   the INS.” Settlement ¶ 10. It is undisputed that this includes children in the legal

 20   custody of DHS and its component entities Customs and Border Protection

 21   (“CBP”) and Immigration and Customs Enforcement (“ICE”). See Defs’

 22   Response in Opposition to Pls’ Motion to Enforce [Doc. # 925] (“Defs’ Opp.”) at

 23   11. The uncontroverted facts establish that children designated for Title 42

 24   detention remain in DHS’s legal custody regardless of the nominal statutory

 25   authority for their detention.

 26            The Settlement uses the term “legal custody” to refer to the entity with

 27   decision-making power over a child’s placement and transfer: the INS. Settlement

 28   ¶ 19 (“All minors placed in such a licensed program remain in the legal custody of


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  1   the INS and may only be transferred or released under the authority of the INS.”).
  2   According to Defendants, “Paragraph 19 makes clear the parties’ agreement that
  3   the ‘legal custody of the INS’ means custody at the direction of the INS, where the
  4   INS retains the authority to authorize continued detention or release of the minor.”
  5   Defs’ Response to Pls’ Report on Parties’ Conference re “Title 42” Class
  6   Members [Doc. # 900] at 5. Defendants also acknowledge that when the parties
  7   entered into the Settlement the “distinction between legal custody and physical
  8   custody was clearly understood in California,” with “legal custody” referring to
  9   “the power to make major decisions affecting the life of the child.” Id. at 5-6 n.2
 10   (citing In re Jennifer R., 17 Cal. Rptr. 2d 759, 763 (Ct. App. 1993)).1
 11         There is no question that DHS exercises authority over all major decisions
 12   affecting children detained pursuant to Title 42, including initial designation,
 13   transfer, placement, and care. DHS exercises unfettered authority to reclassify
 14   children under Title 8 at any point during their detention. See Pls’ Motion to
 15   Enforce Settlement Re “Title 42” Class Members [Doc. # 920-1] (“Mot. to
 16   Enforce”) at 8-13; Declaration of Maria Odom (“Odom Decl.”) [Doc. # 920-3] ¶¶
 17   19-20; Ex. A, Declaration of Melissa Adamson, Ex. 1, Title 42 Data Summary
 18   (“Data Summary”) at 12-13, 17-18 (DHS July ¶ 29 report lists 37 accompanied
 19   and nine unaccompanied children “reprocessed” from Title 42 to Title 8 and
 20   thereafter released or transferred to licensed placement or family detention
 21
      1
 22    Defendants offer no support for their assertion that the term “legal custody” refers
      “to the source of legal authority to hold the child.” Defs’ Opp. [Doc. # 925] at 14.
 23   The Settlement nowhere limits its coverage to children taken into custody under
 24   any particular statute, and, as Defendants concede, the only children DHS detains
      under the Closure Order are those whom it would otherwise take into custody in
 25   enforcing Title 8. See Amendment and Extension of Order Suspending
 26   Introduction of Certain Persons from Countries where a Communicable Disease
      Exists, 85 Fed. Reg. 31,503, 31,507 (May 26, 2020) (defining “covered alien” and
 27   exempting, among others, U.S. citizens, green card holders, and individuals with
 28   valid travel documents).


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  1   center).2 Defendants’ July report also indicates that DHS freely transferred
  2   children between hotels, other unlicensed placements, licensed ORR placements,
  3   and ICE Family Residential Centers before expelling them pursuant to Title 42.
  4   Data Summary at 12-19.3
  5         DHS likewise retains plenary decision-making authority over children they
  6   place in MVM Transport’s physical custody. Mellissa Harper, Chief of the
  7   Juvenile and Family Residential Management Unit (JFRMU) within ICE
  8   Enforcement and Removal Operations (ERO), declares that “JFRMU addresses
  9   issues confronting unaccompanied alien children (UAC) and alien family groups
 10   who come into ERO custody” “includ[ing] oversight of the housing of minors and
 11   family groups/units in hotels” through a contract with MVM. Harper Decl. [Doc.
 12   # 925-1] ¶¶ 1-2 (emphasis added); see also id. at ¶ 11 (ICE “oversees all aspects
 13   of the operations” of hotel placements).
 14         By contrast, there is no indication that the CDC plays any role in decisions
 15
 16

 17
      2
 18    DHS detained at least 23 of the 37 accompanied children it “reprocessed” from
 19
      Title 42 to Title 8 for more than six days in hotels or other unlicensed facilities
      before releasing or transferring them to family detention centers. Data Summary at
 20   17-18. DHS detained at least three unaccompanied children for six days in a hotel
 21   or other unlicensed placement before reprocessing and transferring them to licensed
      ORR placement. Id. at 12-13.
 22
      3
 23     For example, ICE detained some accompanied children at hotels or other
      unlicensed placements, before sending them to Karnes Family Residential Center
 24   (“Karnes”), whereas others have been transferred directly to Karnes and then
 25   expelled under Title 42. Data Summary at 15-16.

 26   DHS appears to have placed at least one child in ORR custody, only to then transfer
      him to a hotel prior to Title 42 expulsion. Id. at 13. DHS initially detained two
 27
      others in hotels and then transferred them to ORR custody. Both were still reported
 28   as “T42 awaiting expulsion” in the July report. Id.

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  1   regarding the classification, placement, or care of children.4 See Mot. to Enforce
  2   at 8-13. The Closure Order covers only persons whom DHS would otherwise
  3   detain under Title 8 and nowhere hints that CDC will assume legal custody of any
  4   individual. See Amendment and Extension of Order Suspending Introduction of
  5   Certain Persons from Countries where a Communicable Disease Exists, 85 Fed.
  6   Reg. 31,503, 31,507 (May 26, 2020) (order applies to “persons traveling from
  7   Canada or Mexico (regardless of their country of origin) who would otherwise be
  8   introduced into a congregate setting in a land or coastal Port of Entry (POE) or
  9   Border Patrol station”). To the contrary, the Closure Order expressly
 10   contemplates that critical decision-making authority in individual cases will
 11   remain with DHS. See id. (customs officers can except individuals from the order
 12   “based on the totality of the circumstances”).
 13
               B.     All unaccompanied children in HHS custody are members of
 14                   the class.
 15         As Plaintiffs established in their opening brief, it is also clear that even
 16   were unaccompanied children designated under Title 42 in HHS’s, rather than
 17   DHS’s, “legal custody,” they would nonetheless remain class members. The
 18   Trafficking Victims Protection Reauthorization Act (TVPRA) assigns “the care
 19   and custody of all unaccompanied alien children, including the responsibility for
 20   their detention,” to the Secretary of Health and Human Services (“HHS”). 8
 21   U.S.C. § 1232(b)(1). Congress has therefore made HHS the INS’s successor for
 22   purposes of the detention and placement of unaccompanied class members. See
 23   Flores v. Barr, 934 F.3d 910, 912 n.2 (9th Cir. 2019); Flores v. Johnson, 212 F.
 24
      4
        Even assuming, arguendo, the CDC were to have some role with regard to the
 25
      treatment of children subject to the Closure Order, DHS’s decision-making
 26   authority means it would retain legal custody nonetheless. See Flores v. Sessions,
      862 F.3d 863, 877 (9th Cir. 2017) (noting that “both the HSA and TVPRA provide
 27
      [] for a degree of cooperation between ORR and outside agencies” with regard to
 28   the treatment of unaccompanied minors).

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  1   Supp. 3d 864, 885 (C.D. Cal. 2015).
  2             Defendants’ answer—that holding HHS as the INS’s successor would lead
  3   to “absurd results,” including the quarantine of U.S. citizens, Defs’ Opp. at 13-14,
  4   is meritless. First, the TVPRA charges HHS with the former INS’s responsibilities
  5   only with respect to the placement and release of “unaccompanied alien children.”
  6   § 1232(b)(1). The TVPRA was “intended to address the unique vulnerability of
  7   minors who enter this country unaccompanied, and to improve the treatment of
  8   such children while in government custody.” Flores v. Sessions, 862 F.3d at 881.
  9   These children are indisputably among the Settlement’s intended class members.
 10   See id. at 866; Flores v. Lynch, 828 F.3d 898, 907 (9th Cir. 2016).
 11             Second, as has been seen, the Closure Order applies only to non-citizens
 12   whom DHS would otherwise detain pursuant to Title 8. 85 Fed. Reg. at 31,507.
 13   Holding HHS to its obligations under the Settlement does not broaden the class
 14   definition and is consistent with the parties’ intent to provide “minimum standards
 15   for the detention, housing, and release of non-citizen juveniles who are detained
 16   by the government.” Flores v. Sessions, 862 F.3d at 866.
 17
 18      III.      CONGRESS HAS PRESERVED THE SETTLEMENT INVIOLATE, AND NOTHING
                   PREVENTS DEFENDANTS FROM COMPLYING WITH THEIR AGREEMENT WHILE
 19                CARRYING OUT THE CLOSURE ORDER.
 20
                   A.    Nothing in Title 42 or the Closure Order requires the Court to
 21                      ignore Congress’s solicitude for Plaintiff children.
 22             Underlying the whole of Defendants’ opposition is a flawed assumption
 23   that providing children appropriate placement and carrying out the Closure Order
 24   are zero-sum propositions: that is, there is some irreconcilable conflict that
 25   prevents doing both. Defendants never identify any such conflict, because there is
 26   none.
 27             The TVPRA both (1) preserves the Settlement; and (2) directs all federal
 28   agencies to transfer the custody of unaccompanied minors to “the Secretary of

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  1   Health and Human Services not later than 72 hours. . . ,” who must then
  2   “promptly” place them “in the least restrictive setting that is in the best interest of
  3   the child.” 8 U.S.C. §§ 1232(b)(3), (c)(2)(A). Congress’s objective in enacting
  4   the TVPRA is unmistakable: the federal government must treat immigrant and
  5   asylum-seeking children with compassion and care, just as the Settlement
  6   requires. See Flores v. Sessions, 862 F.3d at 881.
  7         In contrast, 42 U.S.C. § 265 does not mention detention at all. The CDC’s
  8   statutory authority to detain is found at 42 U.S.C. § 264(b), a statute that pre-dates
  9   the TVPRA by some six decades. It provides in pertinent part:
 10
 11         Regulations prescribed under this section shall not provide for the
            apprehension, detention, or conditional release of individuals except for
 12         the purpose of preventing the introduction, transmission, or spread of
 13         such communicable diseases as may be specified from time to time in
            Executive orders of the President upon the recommendation of the
 14         Secretary, in consultation with the Surgeon General.
 15   Id.
 16         The “regulation[] prescribed under this section,” 42 C.F.R. § 71.37, posits
 17   detailed procedures the CDC must follow when quarantining, isolating, or
 18   releasing individuals conditionally:
 19

 20         A Federal order authorizing quarantine, isolation, or conditional release
            shall be in writing, signed by the Director, and contain the following
 21         information: . . . (4) An explanation that the Federal order will be
 22         reassessed no later than 72 hours after it has been served and an
            explanation of the medical review of the Federal order pursuant to this
 23         part, including the right to request a medical review, present witnesses
 24         and testimony at the medical review, and to be represented at the
            medical review by either an advocate (e.g., an attorney, family member,
 25         or physician) at the individual’s own expense, or, if indigent, to have
 26         representatives appointed at the government’s expense . . ..
 27
      The procedures Defendants follow in detaining children pursuant to the Closure
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  1   Order do not appear at all related to § 264 or its implementing regulations. The
  2   sole regulation the CDC appears to have promulgated specifically to implement
  3   the Closure Order, 42 C.F.R. § 71.40, never mentions “apprehension,” “detention”
  4   or “custody” at all.
  5         Defendants’ expansive reading of their detention powers under 42 U.S.C.
  6   § 265 offers no reason to ignore Congress’s having preserved the Settlement many
  7   decades after it last addressed this provision in 1944. FDA v. Brown &
  8   Williamson Tobacco Corp, 529 U.S. 120, 143 (2000), superseded on other
  9   grounds by statute, 21 U.S.C. § 387a (“[A] specific policy embodied in a later
 10   federal statute should control our construction of the earlier statute, even though it
 11   has not been expressly amended.”) (internal quotation marks and alterations
 12   omitted)).
 13         In Morton v. Mancari, 417 U.S. 535 (1974), the Supreme Court held, “The
 14   courts are not at liberty to pick and choose among congressional enactments, and
 15   when two statutes are capable of co-existence, it is the duty of the courts, absent a
 16   clearly expressed congressional intention to the contrary, to regard each as
 17   effective.” Id. at 551 (emphasis added); see also Connecticut Nat’l
 18   Bank v. Germain, 503 U.S. 249, 253 (1992) (“Redundancies across statutes are
 19   not unusual events in drafting, and so long as there is no ‘positive repugnancy’
 20   between two laws, . . . a court must give effect to both.”).
 21         In J.B.B.C. v. Wolf, the court applied this principle to preliminarily enjoin
 22   Defendants against summarily expelling a child pursuant to Title 42, a practice
 23   that unavoidably conflicts with the TVPRA.5 See Transcript of Telephonic
 24
 25   5
        8 U.S.C. § 1232(a)(5)(D) provides, “Any unaccompanied alien child sought to be
 26   removed by the Department of Homeland Security, except for an unaccompanied
      alien child from a contiguous country . . . shall be— (i) placed in removal
 27
      proceedings under section 240 of the Immigration and Nationality Act (8 U.S.C.
 28   1229a);. . .”

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  1   Motion Hearing, No. 1:20-cv-01509-CJN, ECF No. 39 (D.D.C. June 24, 2020)
  2   [previously filed as Doc. # 897-2]. The court held, “Even if the power to remove
  3   were read by [42 U.S.C.] section 265, the plaintiff has likelihood of success
  4   because the provision, in the Court’s view, should be harmonized, to the maximum
  5   extent possible, with immigration statutes . . . that grant special protections to
  6   minors . . .” Id. at 50 (emphasis added).
  7         The Settlement clearly regulates how Defendants must treat children while
  8   these children are in their custody. If the court in J.B.B.C. enjoined Defendants to
  9   observe the special protections Congress has conferred on Plaintiff children, this
 10   Court should do no less: it should order Defendants to observe the protections the
 11   Settlement confers and Congress preserved in the Homeland Security Act and the
 12   TVPRA.
 13
                B.     Defendants fail to show how the Closure Order prevents them
 14                    from affording children prompt, licensed placement.
 15         Defendants’ affording children licensed placement would not impede their
 16   carrying out the Closure Order. First, Defendants detain a relatively small
 17   percentage of children pursuant to Title 42 for longer than 72 hours. Defendants’
 18   data show that between March and July, CBP “encountered” over 8,600 UACs
 19   and some 8,700 family units at the Southwest border. See U.S. Customs & Border
 20   Protection, Southwest Border Migration FY 2020, U.S. Border Patrol Southwest
 21   Border Encounters FY 2020, www.cbp.gov/newsroom/stats/sw-border-migration
 22   (last modified August 6, 2020); see also id. (“Beginning in March FY20, USBP
 23   Encounters statistics include both Title 8 Apprehensions and Title 42
 24   Expulsions.”).
 25         Over approximately the same period, Defendants report detaining 510
 26   children pursuant to Title 42 for 72 hours or more. Data Summary at 6-7; see
 27
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  1   Attachment A.6 Of the 577 unaccompanied children Defendants held in hotels,
  2   436 were detained for three or more days. Id. These children total 5 percent of all
  3   unaccompanied children Defendants “encountered” at the Southwest border.7
  4   Clearly, there is nothing limiting Defendants from providing children detained
  5   over 72 hours a licensed placement.8
  6         Second, Defendants’ argument that providing children a licensed placement
  7   would “introduce” them into the United States, see, e.g., Defs’ Opp. at 12, is
  8   devoid of merit. Defendants cannot seriously deny that children detained in hotels
  9   6
        This number derives from Attachment A [Doc. # 927] to Exhibit 1 (Declaration of
 10   Mellissa Harper) [Doc. # 925-1]. As the Data Summary explains, it is an open
 11   question whether the data included in Defendants’ Attachment A or ¶ 29 are fully
      accurate. Data Summary at 1-5. The Independent Monitor’s report expressed
 12   similar concerns regarding inconsistencies in the data provided in Defendants’
 13   Attachment A and the monthly Flores reports. See Interim Report on the Use of
      Temporary Housing for Minors and Families under Title 42 by Independent
 14   Monitor and Dr. Paul Wise, August 26, 2020 [Doc # 938] (“Aug. Interim Report”)
 15   at 11 n.9.

 16   7
       It is not possible to calculate this percentage for accompanied children, as the CBP
 17   data does not distinguish between children and adults when reporting Family Unit
      numbers. See CBP, Southwest Border Migration FY 2020,
 18   https://www.cbp.gov/newsroom/stats/sw-border-migration (“Family Unit represents
 19   the number of individuals (either a child under 18 years old, parent, or legal
      guardian) apprehended with a family member by the U.S. Border Patrol.”).
 20
      8
 21    Defendants complain that Plaintiffs fail to state whether unaccompanied children
      only, or both accompanied and unaccompanied children, are entitled to licensed
 22   placement as Settlement ¶ 12 directs. Defs’ Opp. at n.3.
 23
      The short answer is that the TVPRA preserves the Settlement in whole, and the
 24   agreement protects both accompanied and unaccompanied children. Flores v.
 25   Lynch, 828 F.3d at 901.

 26   As this Court has remarked, however, Defendants have elected to force families to
      separate if they wish to avail themselves of their Settlement rights. As a practical
 27
      matter, the primary beneficiaries of requiring Defendants to afford class members
 28   prompt licensed placement will be unaccompanied class members.

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  1   in McAllen, El Paso, San Antonio, or Phoenix are already in the United States.
  2   Nor do Defendants deny that they have hundreds of empty licensed beds at their
  3   disposal in or near these very same cities.
  4         Defendants never explain how placing a child in a licensed facility would
  5   introduce a child into the United States any more than does their detaining them
  6   for weeks in unlicensed and unmonitored hotels or MVM transport facilities,
  7   where they have daily contact with multiple MVM, medical, and ICE personnel.9
  8   See Harper Decl. ¶¶ 6-9, 19-20; J.B.B.C. Hearing Tr. at 49-50 (“In my view, the
  9   plaintiff is likely to succeed on the question of whether 42 U.S.C. 265 grants the
 10   director of the CDC the power the government articulates here” because “the
 11   statute authorizes the director of the CDC to prohibit the introduction of persons . .
 12   .. There’s a serious question about whether that power includes the power also to
 13   remove or exclude persons who are already present in the United States.”
 14   (emphasis added)).10
 15         Insofar as placement is concerned, Defendants fail to demonstrate how their
 16   complying with the Settlement impedes their ability to execute the Closure Order.
 17   Resolving the question sub judice is accordingly straightforward: because there is
 18
      9
 19    Defendants also admit that they introduce hotelled children into urgent care
 20
      centers and local emergency rooms if emergency or behavioral health services are
      needed. See Harper Decl. ¶ 20.
 21
      10
 22      The CDC has interpreted “introduction into the United States of persons from a
      foreign country” to mean “movement of a person from a foreign country . . . into
 23   the United States so as to bring the person into contact with persons in the United
 24   States, or so as to cause the contamination of property in the United States, in a
      manner that the Director determines to present a risk of transmission of a
 25   communicable disease to persons or property, even if the communicable disease has
 26   already been introduced, transmitted, or is spreading within the United States.” 42
      C.F.R. § 71.40(b)(1). Assuming, arguendo, the CDC has correctly construed what
 27   it means to introduce them into the United States, Defendants have the Plaintiff
 28   children in their custody, and whether they are detained in a licensed facility or a
      hotel, they are in “contact with persons in the United States.”

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  1   no conflict between Defendants’ executing the Closure Order and their providing
  2   children a licensed placement, the Court should give effect to Congress’s having
  3   protected and preserved class members’ Settlement rights, including their right to
  4   licensed placement.
  5
         IV.   ANY AMBIGUITY IN THE SETTLEMENT CAN AND SHOULD BE RESOLVED IN
  6            FAVOR OF REQUIRING DEFENDANTS TO PLACE CHILDREN EXPEDITIOUSLY IN
  7            LICENSED FACILITIES.

  8            A.      The Settlement nowhere suggests Defendants should have free
  9                    rein to deny children licensed placement by facile designation.
 10         Defendants next argue that despite the Settlement’s expressly binding the

 11   INS’s successors and Congress’s having expressly named HHS as that successor

 12   with respect to custody and placement of unaccompanied class members, they are

 13   free to treat children howsoever they wish because the parties never intended the

 14   Settlement to apply to children DHS purports to detain pursuant to Title 42. E.g.,

 15   Defs’ Opp. at 12-13. Defendants’ argument is meritless. The parties intended to

 16   protect immigrant and asylum-seeking children from inappropriate, unmonitored,

 17   and unlicensed placement; they did not intend that Defendants have license to

 18   evade that obligation by arbitrarily branding or un-branding children as threats to

 19   public health.

 20         In their opening brief, Plaintiffs explained that CBP and ICE choose to

 21   designate children under Title 8 or Title 42 detainees without much, if any,

 22   apparent regard for public health. Mot. to Enforce at 10-12. The Independent

 23   Monitor observed that “there appears to be no formal policy regarding the

 24   procedures” for unaccompanied children who test positive for Covid-19 and two

 25   of three unaccompanied children who “tested positive for Covid-19 while in the

 26   custody of ICE at a hotel” were transferred to ORR custody. Interim Report on the

 27   Use of Temporary Housing for Minors and Families under Title 42 by

 28   Independent Monitor and Dr. Paul Wise, August 26, 2020 [Doc # 938] (“Aug.


                                               12
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  1   Interim Report”) at 16-17.11
  2         The Settlement, however, squarely places Defendants under a mandatory
  3   duty to afford the general population of detained children prompt placement in
  4   licensed, non-secure facilities. Settlement ¶ 12.A (“[T]he INS shall place all
  5   minors pursuant to Paragraph 19 as expeditiously as possible. . .” (emphasis
  6   added)); see also Settlement ¶ 41 (“The undersigned . . . warrant that upon
  7
      11
         Defendants admit that CBP exempts children from the Closure Order based on
  8   ill-defined “humanitarian concerns,” including when an officer “sees signs of
  9   illness.” See Defs’ Opp. at 5-6, 20 n.9. It appears that the majority, if not the only,
      children Defendants actually expel under the Closure Order are those who do not
 10   have COVID, while those who test positive are sometimes “introduced” into
 11   facilities holding Title 8 detainees. See Interim Report on the Use of Temporary
      Housing for Minors and Families Under Title 42 by Independent Monitor, July 22,
 12   2020 [Doc # 873] (“July Interim Report”) at 17 (“[A]t least one family was
 13   transferred to the Karnes FRC after 2 symptomatic members tested positive for
      COVID-19.”). Expelling the healthy while admitting the infected is certainly a
 14   curious approach to protecting public health.
 15
      But to speak straight from the shoulder, it is increasingly evident that the Closure
 16   Order is a legal and factual subterfuge for the unlawful expulsion of immigrant and
 17
      asylum-seeking children. See, e.g., Letter to HHS Secretary Azar and CDC
      Director Redfield Signed by Leaders of Public Health Schools, Medical Schools,
 18   Hospitals, and Other U.S. Institutions, May 18, 2020,
 19
      www.publichealth.columbia.edu/public-health-now/news/public-health-experts-
      urge-us-officials-withdraw-order-enabling-mass-expulsion-asylum-seekers (“The
 20   nation’s public health laws should not be used as a pretext for overriding
 21   humanitarian laws and treaties that provide life-saving protections to refugees
      seeking asylum and unaccompanied children. . . . Despite its public health pretext,
 22   the CDC order fails to further public health and disregards alternative measures
 23   that can protect public health while preserving access to asylum and other
      protection.” (emphasis added)).
 24
      Nor is there any doubt the stratagem is succeeding in abrogating asylum protections
 25
      by other means. See C-SPAN, Senate Hearing on Customs and Border Protection
 26   Oversight, June 25, 2020, www.c-span.org/video/?473378-1/senate-hearing-
      customs-border-protection-oversight (00:54:25) (CBP Acting Commissioner
 27
      Morgan testifies that his agency has summarily expelled 2,000 unaccompanied
 28   children while processing only some 300 as Title 8 directs).

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  1   execution of this Agreement in their representative capacities, their principals,
  2   agents, and successors of such principals and agents shall be fully and
  3   unequivocally bound hereunder to the full extent authorized by law.”).
  4         Nothing in the Settlement hints that DHS should be at liberty to evade that
  5   obligation by mere incantation: that is, by arbitrarily designating one or another
  6   child for Title 42 detention. Ceding Defendants such a prerogative would, of
  7   course, render the Settlement illusory, a result settled canons of contract
  8   interpretation categorically condemn. 2 CORBIN ON CONTRACTS 142 (rev. ed.
  9   1995) (“An illusory promise is one containing words ‘in promissory form that
 10   promise nothing’”); RESTATEMENT (SECOND) OF CONTRACTS § 203(a) (1981)
 11   (“[A]n interpretation which gives a reasonable, lawful, and effective meaning to
 12   all the terms is preferred to an interpretation which leaves a part . . . of no effect”);
 13   Kennewick Irrigation Dist. v. United States, 880 F.2d 1018, 1032 (9th Cir. 1989)
 14   (“Preference must be given to reasonable interpretations as opposed to those that
 15   are unreasonable, or that would make the contract illusory.”) (quotation marks
 16   omitted).12
 17
      12
 18     Defendants dramatically oversimplify the law in arguing that what the parties
      anticipated when they entered into the Settlement—and only what they then
 19
      anticipated—strictly cabins the Settlement. E.g., Defs’ Opp. at 13.
 20
      For example, in 1997 the parties had no inkling Congress would dissolve the INS in
 21   2002 or enact the TVPRA in 2008, yet the Settlement remains binding on HHS and
 22   DHS. Flores v. Sessions, 862 F.3d at 870-71. That the parties did not anticipate
      the current pandemic or, to speak plainly, Defendants’ seizing upon a public health
 23   emergency to adopt a novel interpretation of 42 U.S.C. § 265 and deny non-citizen
 24   children the Settlement’s protections, is of no moment. See Flores v. Lynch, 828
      F.3d at 906 (“[T]hat the parties gave inadequate attention to some potential
 25   problems of accompanied minors does not mean that the Settlement does not apply
 26   to them.”). Children whom Defendants select for Title 42 expulsion are just as
      needful of proper placement as those they openly detain under Title 8. Id. at 907
 27   (“The government has not explained why the detention claims class would exclude
 28   accompanied minors; minors who arrive with their parents are as desirous of


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  1             B.     The Settlement should not be construed to deny identically
                       situated children proper placement.
  2
            Nor is Defendants’ picking and choosing children for licensed or unlicensed
  3
      placement minimally rational. In the opening brief, Plaintiffs argued that, should
  4
      the Court detect any ambiguity in the Settlement, it should construe the Settlement
  5
      as protecting children irrespective of whether Defendants choose to designate
  6
      them for Title 42 or Title 8 detention. Mot. to Enforce at 13. The Court would
  7
      thereby avoid serious constitutional questions regarding equal protection that
  8
      would arise from Defendants’ treating identically situated children differently. Id.
  9
            In opposing the instant motion, Defendants fail to explain how a child
 10
      whom they elect to brand “Title 42” is any less deserving of prompt licensed
 11
      placement, or any more likely to threaten public health, than one they decide to
 12
      detain pursuant to Title 8. Indeed, Defendants nowhere deny that they regularly
 13
      shift the nominal basis for detaining a child from Title 42 to Title 8 for little or no
 14
      reason.
 15
            Instead, Defendants argue that the “Court is not being asked to interpret
 16
      Title 42, but rather it is being asked to interpret a settlement agreement. The
 17
      doctrine of constitutional avoidance has no application here.” Defs’ Opp. at 16.
 18
      Whether Title 42 necessarily conflicts with the TVPRA’s savings clause and, a
 19
      fortiori, the Settlement, is among the questions sub judice. Assuming, arguendo,
 20
      Defendants were to succeed in conjuring up some irreconcilable conflict between
 21
      Title 42 and the Settlement, the doctrine of constitutional avoidance would
 22
      mitigate in favor of harmonizing Title 42 with Congress’s subsequent directives
 23
      (1) that the Settlement should endure, and (2) that all federal agencies must
 24
 25
 26
 27
      education and recreation, and as averse to strip searches, as those who come
 28   alone.”).

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  1   transfer unaccompanied children to HHS within 72 hours.13 See 8 U.S.C.
  2   1232(b)(3), (c)(2)(A).
  3             In sum, whether viewed as a question of statutory construction, contractual
  4   interpretation, or both, the result is the same: Defendants have no rational basis for
  5   denying children proper placement by dint of the label they choose to fasten upon
  6   them. Both Title 42 and the Settlement should therefore be construed such that
  7   Defendants are required to afford identically situated children prompt, licensed
  8   placement.
  9
 10        V.      PLAINTIFFS HAVE MORE THAN CARRIED THEIR BURDEN OF PROVING THAT
                   DEFENDANTS ARE DETAINING CHILDREN IN UNLICENSED PLACEMENTS IN
 11                VIOLATION OF THE SETTLEMENT.
 12             Defendants do not deny they are detaining children in unlicensed facilities,
 13   in some cases for weeks at a time. Nor do Defendants counter Plaintiffs’ evidence
 14   that they deny children detained in unlicensed facilities access to counsel,
 15   education, and recreation.14 Finally, Defendants nowhere deny (i) that no state
 16
      13
 17       In any event, the doctrine of constitutional avoidance is applicable to interpreting
 18
      contracts. E.g., City of San Diego v. Rider, 47 Cal. App. 4th 1473, 1490 (1996)
      (“As a contract, the lease must receive such an interpretation as will make it lawful .
 19   . . if it can be done without violating the intention of the parties. Here the facility
 20
      lease itself provides the city and agency intended the lease be carried out in a lawful
      and constitutional fashion.” (emphasis added) (internal quotation marks and
 21   citations omitted)).
 22   14
        Defendants do not deny barring individual legal counsel’s or class counsel’s
 23   access to “hotelled” children while guilefully impugning the evidence children’s
 24   legal services providers are able to supply. The Court has rebuffed similarly sharp
      practices in the past, and it should do so here again. See e.g., Transcript of Video
 25   Proceedings at 16, Lucas R. v. Azar et al., No CV18-05741-DMG (Mar. 27, 2020)
 26   [previously filed as Doc. # 774-71] (“I cannot tell the plaintiffs to come up with
      data that they don’t have because you won’t give it to them.”). In any event, the
 27   declarations supporting the instant motion are clearly admissible: the declarants
 28   provide direct legal services to the children at issue and have experienced first-hand
      Defendants’ concerted efforts to hold “hotelled” children all but incommunicado.

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  1   child welfare licensing official monitors the conditions and treatment children
  2   experience during unlicensed placement,15 (ii) that they are blocking Plaintiffs’
  3   counsel’s access to children detained in unlicensed facilities notwithstanding
  4   Settlement ¶¶ 32 and 33, or (iii) that not even the Independent Monitor has been
  5   provided access to class members or the ability to independently assess detainee
  6   experiences. See Aug. Interim Report at 15.
  7
                A.    The uncontroverted evidence establishes that Defendants are
  8                   failing to transfer children to licensed placements as
  9                   expeditiously as possible.

 10         In their opening brief, Plaintiffs explained that absent an “influx,”

 11   Settlement ¶ 12 generally requires Defendants to transfer a minor to a non-secure

 12   licensed placement within three days, but that even during an influx, the

 13   agreement requires licensed placement “as expeditiously as possible.” Settlement

 14   ¶ 12A3.

 15         Defendants do not deny that their licensed shelters are now nearly empty.

 16   Under prevailing circumstances, Defendants’ transferring children to licensed

 17
      15
 18     Defendants expect Plaintiffs and the Court to ignore the independent state
      monitoring protections of the Settlement and instead to rely on ICE’s
 19   “[u]nannounced virtual inspections” to verify the conditions these children are
 20   kept in. Harper Decl. ¶ 12. This type of self-monitoring has already been rejected
      by this Court once before and should not now be deemed sufficient independent
 21   monitoring to ensure compliance with the Settlement. See Order re Pls’ Mot to
 22   Enforce Settlement [516] and Defs’ Notice of Termination and Mot in the
      Alternative to Terminate the Flores Settlement Agreement [639] at 9, [Doc. # 688]
 23
      (“Therefore, this new regulatory definition of ‘licensed facility’ would effectively
 24   authorize DHS to place class members in ICE detention facilities that are not
      monitored by state authorities, but are instead audited by entities handpicked by
 25
      DHS… . This is more than a minor or formalistic deviation from the provisions of
 26   the Flores Agreement, as ‘[t]he purpose of the licensing provision is to provide
      class members the essential protection of regular and comprehensive oversight by
 27
      an independent child welfare agency.’”).
 28


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  1   placement after three days is entirely “possible,” and Defendants offer no
  2   evidence to the contrary.16 Defendants’ latest ¶ 29 report and Attachment A to
  3   their Opposition also confirm that DHS is not transferring class members to
  4   licensed placements as expeditiously as possible.17
  5         The most Defendants muster in opposition is that children’s “average
  6   lengths of stay” in irregular facilities are short. See Harper Decl. ¶ 23. This says
  7   nothing about the many children whom DHS has detained for 10, 15, 20, or 25
  8   days or more in unlicensed placements. Data Summary at 6-7, 9-19. In July,
  9   DHS detained at least 13 accompanied and eight unaccompanied children in
 10   hotels for two weeks or more, including two unaccompanied children whom it
 11   detained in hotels for 28 days. Id. at 6-7, 10-12, 14-18. Once again, Defendants’
 12   own data confirm they are violating the Settlement’s command that they provide
 13   children safe and proper placement as expeditiously as possible.
 14
      16
        Similarly, the TVPRA requires all federal agencies to transfer the custody of
 15   unaccompanied minors to “the Secretary of Health and Human Services not later
 16   than 72 hours. . . ,” who must then “promptly” place them “in the least restrictive
      setting that is in the best interest of the child.” 8 U.S.C. §§ 1232(b)(3). Defendants
 17   use the term “single minor.” To the extent this term is used to imply that these
 18   children fall outside the protections granted by Congress to unaccompanied
      children, this usage is inconsistent with statute. See 6 U.S.C. § 279(g)(2).
 19
      17
 20      Defendants argue they may delay 20 days before transferring children to a
      licensed placement without violating the Settlement’s requirement that transfer
 21   occur “as expeditiously as possible.” Defs’ Opp. at 20.
 22
      Defendants’ attempt to analogize delay in licensed placement while ORR facilities
 23
      are nearly vacant to delays in releasing accompanied children during the 2015
 24   “surge” in family detention is deeply and obviously flawed. See Order re Response
      to Order to Show Cause [Doc # 189] at 10 n.7 (“Paragraph 12A requires that
 25
      Defendants ‘place all minors pursuant to Paragraph 19 as expeditiously as possible’
 26   in ‘the event of an emergency or influx of minors into the United States.’ This
      language, on its face, gives Defendants some latitude, provided it is exercised
 27
      reasonably and in good faith, to deal with emergency situations.”) (emphasis
 28   added).

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  1
                B.    Defendants have concealed the conditions and treatment class
  2                   members experience during unlicensed placement from class
  3                   counsel, children’s individual counsel, and the Independent
                      Monitor.
  4
            The Settlement’s requirement that children be placed in licensed facilities
  5
      ensures that children in immigration custody are in placements that “comply with
  6
      all applicable state child welfare laws and regulations” and are “licensed by an
  7
      appropriate State agency to provide residential, group, or foster care services for
  8
      dependent children . . . .” Settlement Ex. 1, ¶ 6. As this Court has observed, the
  9
      agreement’s licensing requirement ensures that Defendants’ facilities are regularly
 10
      inspected by independent state child welfare authorities. Flores v. Johnson, 212
 11
      F. Supp. 3d 864, 879 (C.D. Cal. 2015), (independent oversight “the animating
 12
      concern of the Agreement’s licensing requirement”)).
 13
            Defendants do not deny that hotels and MVM hold rooms are unlicensed,
 14
      and their failure to transfer children to licensed placement as expeditiously as
 15
      possible is a per se breach of the Settlement.
 16
            Instead, Defendants argue that the Court should trust that they are supplying
 17
      “hotelled” children the basics: clothing, food, a bed and a shower.18 Yet even
 18
      taking Defendants’ rosy portrayal at face value, the Settlement requires them to
 19
      provide children far more than just food and basic sanitation. The uncontroverted
 20
      evidence shows that children in unlicensed placements lack adequate access to
 21
      legal counsel, to a needs assessment, including identification of special needs, to
 22
      recreation, to an educational assessment and educational services, to leisure time
 23
      activities apart from television, to mental health and family reunification services,
 24
 25
      18
 26     There is no mention of what steps Defendants take to ensure safe and sanitary
      conditions when children are detained in other unlicensed placements listed in the
 27   monthly Flores data reports that are not hotels, such as hold rooms, “MVM
 28   Transport,” or “MVN Transportation.” See Data Summary at 11-19 (listing
      examples of children held by “MVM Transport” and “MVN Transportation”).

                                                19
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  1   all of which licensed placements must supply. Settlement Ex. 1.19 See e.g. Aug.
  2   Interim Report at 15 (The current “hotelling” of unaccompanied minors “is not
  3   fully responsive to the safe and sanitary requirements of young children.”).
  4         Defendants fail as well to offer any evidence casting doubt on the
  5   Independent Monitor’s finding that “hotelled” children are rarely permitted
  6   outdoor recreation, education, or counseling. July Interim Report at 9. The
  7   August Report of the Independent Monitor similarly did not find evidence of the
  8   provision of recreation, education, or counseling. See Aug. Interim Report. The
  9   Independent Monitor has made clear the current system of detaining
 10   unaccompanied minors in unlicensed facilities “is not a system of care for children
 11   of different ages and developmental stages.” Id. at 17. Adequate custodial care
 12   requires “specialized custodial elements, continuous oversight, and specialized
 13   training of relevant personnel.” Id. Moreover, Defendants have no formal age
 14   limit policy regarding which unaccompanied children are “too young” to be held
 15   in unlicensed facilities and there is no apparent limit to the length of stay for
 16   unaccompanied children in unlicensed placements. Id. at 16. Instead of meeting
 17   their clear legal obligation, Defendants are improperly detaining unaccompanied
 18   children for long periods of time in unlicensed facilities.
 19         Defendants claim that children detained in hotels and other unlicensed
 20   placements have “telephonic access . . . to counsel while housed in the hotels”
 21   because each minor “is given a minimum of one phone call a day.” Defs’ Opp. at
 22   25. Defendants fail to explain how a child is supposed to locate a lawyer when
 23   pro bono legal services providers have been ejected from hotels, when they insist
 24   a lawyer must have entered an appearance for a child before he or she will be
 25   allowed to call her lawyer, and when few lawyers will appear for a client whose
 26
 27   19
        According to Defendants, the only “behavioral health” services “hotelled”
 28   children receive is a trip to the emergency room when necessary. Harper Decl. ¶
      20.

                                                 20
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  1   location they do not know and whom they have never previously been permitted
  2   to interview. See Mot. to Enforce at 17-18 (families often do not know where
  3   Defendants are detaining their children and cannot reasonably be expected to
  4   retain counsel, let alone obtain a signed Form G-28; legal service providers report
  5   extreme difficulty locating “hotelled” children because Defendants obstruct
  6   access).20
  7          As of August 14, 2020, Defendants had access to over 12,000 vacant beds
  8   in licensed facilities. ORR Juvenile Coordinator Interim Report, Aug. 24, 2020
  9   [Doc. # 932-2] at 2. There is no excuse for leaving vulnerable children in
 10   unlicensed and unmonitored facilities while licensed beds sit vacant —at taxpayer
 11   expense.
 12        VI.     CONCLUSION.
 13          For the foregoing reasons, the Court should grant this motion and order
 14   Defendants to comply with the Settlement with respect to placement and
 15   monitoring of class members designated for Title 42 expulsion.
 16

 17
 18
 19

 20
 21
 22
 23
 24
 25   20
        The importance of children’s having meaningful access to counsel is hard to
 26   overstate. Without a lawyer, children’s ability to oppose summary Title 42
      expulsion is nil, whereas DHS nearly always transforms Title 42 children into Title
 27
      8 children once counsel enters an appearance. See Odom Decl. at ¶ 19; Ex. F to
 28   Mot. to Enforce, Declaration of Daniel Galindo ¶¶ 3-4 (“Galindo Decl.”).

                                               21
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  1
  2   Dated: August 28, 2020      CENTER FOR HUMAN RIGHTS AND
                                  CONSTITUTIONAL LAW
  3                               Carlos R. Holguín
  4
                                  NATIONAL CENTER FOR YOUTH LAW
  5                               Leecia Welch
  6                               Neha Desai
                                  Poonam Juneja
  7                               Freya Pitts
  8                               Melissa Adamson
  9
 10
                                  ___________________________________
                                   /s/ Carlos Holguín
 11                               Carlos Holguín
 12                               One of the Attorneys for Plaintiffs
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